        Case 1:24-cv-01496-RDP              Document 7         Filed 11/26/24   Page 1 of 2            FILED
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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 EASTERN DIVISION


 PAMELA MCCULLERS,                                   }
                                                     }
         Plaintiff,                                  }
                                                     }
 v.                                                  }    Case No.: 1:24-cv-01496-RDP
                                                     }
 KOCH FOODS OF ALABAMA, LLC, et                      }
 al.,                                                }
                                                     }
         Defendants.                                 }


                                                ORDER
        Before the court is Defendants’ Opposed Motion to Extend Responsive Pleading Deadline.

(Doc. # 4). Plaintiff has conditioned her consent to the extension on a promise that no motion to

dismiss will be filed in response to the complaint. (Id.).

        There is generally no good reason that an extension such as this should be opposed, let

alone denied. The Golden Rule—do unto others as you would have them do unto you—is not just

a good rule of thumb for everyday life. It is a critical component of legal professionalism. Sadly,

in recent years compliance with the rule is becoming rarer and rarer in the litigation arena. It is

time to reverse that trend, even if it is only in this case.

        Here, Plaintiff’s counsel’s conditioning of any agreement to an extension was wholly

inappropriate, particularly in light of the looming Thanksgiving holiday. Such nonsense wastes

time, damages professional relationships, and makes the lawyer withholding consent (or

conditioning it) appear petty and uncooperative. Judges rightly expect lawyers to handle minor

procedural issues like extensions without unnecessary conflict, and refusing to do so is

unprincipled.
        Case 1:24-cv-01496-RDP           Document 7        Filed 11/26/24      Page 2 of 2




       Conditioning or denying consent to an extension in this way is fiddle-faddle for an

additional reason: it rarely provides any legitimate strategic advantage. Everyone encounters

unexpected delays, and extending professional courtesy really costs nothing. But, fostering

goodwill by agreeing to short extensions could benefit counsel later in this case—or in future

dealings with opposing counsel. The court’s job is to address the merits of the case, not to navigate

a world of technicalities. Refusing such a reasonable extension request stinks of petty

gamesmanship. Professionalism demands that lawyers pick their battles wisely, and minor

extension requests simply are not the place for unnecessary posturing.

       Plaintiff’s counsel’s opposition is meritless. For these reasons, Defendants’ Motion (Doc.

# 4) is GRANTED. Defendants’ answer or responsive pleading SHALL be filed on or before

January 6, 2025.

       Further, the court ORDERS that, on or before December 31, 2024, counsel for both

Plaintiff and Defendants are to go to lunch together. Plaintiff’s counsel will pay the bill;

Defendants’ counsel will leave the tip. The parties will discuss how they can act professionally

throughout the rest of this case. Within ten (10) days of the lunch, the parties SHALL file a joint

report describing the conversation that occurred at lunch and the amount of the tip.

       DONE and ORDERED this November 26, 2024.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              CHIEF U.S. DISTRICT JUDGE




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